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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                        Richmond Division

   _________________________________________
   In re: John Daniel Mangigian, Jr.         )
                                             )                 Case No. 16-35630
                                             )                 Chapter 13
                Debtor.                      )                 Trustee: Roy M. Terry
                                             )
   _________________________________________ )


                   DEBTOR'S OBJECTION TO PROOF OF CLAIM # 9

           The Debtor, John Daniel Mangigian, Jr., by counsel, Nupa Agarwal, Esq., objects
   to the Proof of Claim filed by Federal National Mortgage Association, in the amount of
   $145,502.37 for a pre-petition debt, and assigns the following reasons for the same:


       1. Debtor filed a Chapter 13 Bankruptcy on November 16, 2016; and converted to a
           Chapter 7 on November 13, 2018.
       2. Federal National Mortgage Association filed its Proof of Claim on May 1, 2019;
           and Amended Claim on May 7, 2019.
       3. Debtor’s Counsel Objects to this Proof of Claim as Federal National Mortgage
           Association has not shown supporting documents that Debtor was listed on the
           Mortgage. Debtor states he was only on the Deed.
           WHEREFORE, Debtor respectfully requests that this Honorable Court disallow
   the Proof of Claim # 9 filed by Federal National Mortgage Association and grant such
   other and further relief as is just and proper.


           NOTICE UNDER LOCAL BANKRUPTCY RULE 3007-1, UNLESS A
   WRITTEN RESPONSE AND A REQUEST FOR HEARING ON THIS OBJECTION
   ARE FILED WITH THE CLERK OF THE COURT AND SERVED ON THE
   OBJECTING PARTY AND THE TRUSTEE WITHIN 30 DAYS OF THE SERVICE
   OF THIS OBJECTION, THE COURT MAY DEEM ANY OPPOSITION WAIVED,
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   TREAT THE OBJECTION AS CONCEDED, AND ENTER AN ORDER GRANTING
   THE REQUESTED RELIEF WITHOUT A HEARING.

                                                                   /s/ John Daniel Mangigian, Jr.
                                                                    Debtor
                                                                   By: /s/ Nupa Agarwal
                                                                     Nupa Agarwal
                                                                     Counsel for Debtor
                                                                     VA. State Bar No. 42545
                                                                     PO Box 17275
                                                                     Richmond, VA 17275
                                                                     TEL:(804) 691-2655




                                            PROOF OF SERVICE

             I certify that I have this 20th Day of May 2019 transmitted a true copy of the foregoing application
   electronically through the Court‘s CM/ECF system or by mail to the Debtor, John Daniel Mangigian, Jr.,
   2025 Rocky Ford Road, Powhatan, VA 23139; Chapter 7 Trustee, the United States trustee and to all necessary
   parties, on the mailing matrix maintained by the clerk of court.
                                                                         /s/Nupa Agarwal
                                                                          Nupa Agarwal
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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                         Richmond Division

 _________________________________________
 In re: JOHN DANIEL MANGIGIAN, JR.         )
                                           )                     Case No. 16-35630
                                           )                     Chapter 7
             Debtor.                       )                     Trustee: Roy M. Terry
                                           )
 _________________________________________ )


                           NOTICE OF OBJECTION TO CLAIM # 9

       Debtor’s Counsel has filed an objection to the proof of claim #9 by Federal National
 Mortgage Association (the “Objection”).

         Your claim may be reduced, modified, or eliminated. You should read these papers
 carefully and discuss them with your attorney, if you have one.

        If you do not want the court to grant the relief sought in the Objection or if you want the
 Court to consider your views on the motion, then you or your attorney must:

         File with the court, at the address below a written response to the objection and a request
 for hearing within 30 days of filing of this motion. Unless a written response is filed and
 served by the date specified, the Court may decide that you do not oppose the objection to your
 claim. If you mail your response to the court for filing, you must mail it early enough so that the
 court will receive it on or before the date stated above.

                                 Clerk of Court
                                 U.S. Bankruptcy Court
                                 701 E. Broad Street, St. 4000
                                 Richmond, VA 23219

 You must also mail a copy to:

 Nupa Agarwal
 VA. State Bar No. 42545
 PO Box 17275
 Richmond, VA 17275
 TEL:(804) 691-2655
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 Federal National Mortgage Association Inc
 c/o Brad Geisen of Active Data Technologies
 1095 Broken Sound Parkway
 Suite 100
 Boca Raton, FL 33487


 If you or your attorney does not take these steps, the court may decide that you do not oppose the
 objection to your claim and may enter an order granting that relief.

 Date: May 20, 2019

                                                     /s/ Nupa Agarwal,Esq.
                                                     VA. State Bar No. 42545
                                                      P.O. Box 17275
                                                      Richmond, VA 23226
                                                      TEL: 804-691-2655




                                            PROOF OF SERVICE

          I certify that I have this 20th Day of May 2019 transmitted a true copy of the foregoing application
 electronically through the Court‘s CM/ECF system or by mail to the Debtor, John Daniel Mangigian, Jr., 2025 Rocky
 Ford Road, Powhatan, VA 23139; Chapter 7 Trustee, the United States trustee and to all necessary parties, on the
 mailing matrix maintained by the clerk of court.
                                                                        /s/Nupa Agarwal, Esq
                                                                          Nupa Agarwal
                                                                        Counsel for Debtor
